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           Attorneys for Defendants
                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         EUGENE DIVISION

    DEPAUL INDUSTRIES, an Oregon non-profit                      Civil No. 6:18-cv-00320-MC
    corporation,
                          Plaintiff,                             DEFENDANTS’ MOTION FOR
           v.                                                    EXTENSION OF TIME TO PRODUCE
                                                                 CERTAIN DOCUMENTS
    CITY OF EUGENE, a municipal corporation;
    JOHN RUIZ, in his official capacity as the City
    Manager of the City of Eugene; BENJAMIN
    MILLER, personally and in his official
    capacity as Assistant City Attorney for the City
    of Eugene; LAVENA NOHRENBERG, in her
    official capacity as Customer Experience
    Manager of the City of Eugene Public Library;
    CLAYTON STILWELL, in his official
    capacity as Purchasing Analyst for the Finance
    Department of the City of Eugene; and
    DOES 1-9, unknown individuals acting under
    color of law,
                          Defendants.




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           CERTAIN DOCUMENTS

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                                                Portland, Oregon 97204
                                                     503-221-1440
                                          LR 7-1 Certification
           Counsel for Defendants certify that they have conferred in good faith with Plaintiff’s

    counsel by telephone regarding Defendants’ Motion for Extension of Time to Produce Certain
    Documents. Plaintiff opposes this Motion.

                                      Motion and Memorandum
           On October 17, 2018, the Court entered a minute order, ordering Defendants to produce

    several documents. (Dkt. No. 35.) The Court ruled that one document and redacted portions of

    two others were not subject to the attorney-privilege. Those three documents will be produced to

    Plaintiff within the Court’s seven (7) business-day deadline, by October 26, 2018.

           The Court also directed Defendants to produce five documents and portions of two

    additional redacted documents under the crime-fraud exception to the attorney-client privilege.

    Defendants have prepared a Motion for Reconsideration asking the Court to reconsider the

    crime-fraud portion of its October 17, 2018 order, and are filing a Motion to File Ex Parte and

    Under Seal that Motion for Reconsideration. Consequently, Defendants request that the Court

    extend Defendants’ production deadline of these seven documents during the pendency of the

    Motion for Reconsideration.

                   DATED this 24th day of October, 2018.
                                                   TONKON TORP LLP



                                                   By        /s/ Christopher J. Pallanch
                                                          Michael W. Fletcher, OSB No. 010448
                                                          Christopher J. Pallanch, OSB No. 075864
                                                          Stephanie J. Grant, OSB No. 154597
                                                          Attorneys for Defendants




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           CERTAIN DOCUMENTS

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                                       CERTIFICATE OF SERVICE

                       I hereby certify that I served the foregoing DEFENDANTS’ MOTION FOR

     EXTENSION OF TIME TO PRODUCE CERTAIN DOCUMENTS on:

      Clifford S. Davidson
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           Attorneys for Plaintiff DePaul Industries



                 by electronic means through the Court's Case Management/Electronic
                   Case File system on the date set forth below

                 by causing a copy thereof to be e-mailed to each attorney at said
                   attorney's last-known email address on the date set forth below

                       DATED this 24th day of October, 2018.
                                                       TONKON TORP LLP


                                                       By       /s/ Christopher J. Pallanch
                                                             Michael W. Fletcher, OSB No. 010448
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